     Case 3:24-cv-03836-TLT        Document 57-1   Filed 01/10/25    Page 1 of 3



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     DIAMOND FOUNDRY INC.
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 8                             UNITED STATES DISTRICT COURT

 9                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO

10   E.Y. OROT ASSETS LTD., an Israeli company,    Case No. 3:24-cv-03836-TLT
     and OMEGA ECO DIAMONDS LTD., an
11   Israeli company,                              DECLARATION OF JAMES S.
                                                   DAVIDSON IN SUPPORT OF
12                                                 DEFENDANT AND
                           Plaintiffs,             COUNTERCLAIMANT DIAMOND
13
           v.                                      FOUNDRY INC.’S REQUEST FOR
14                                                 JUDICIAL NOTICE
     DIAMOND FOUNDRY INC., a Delaware
15   corporation,                                  Date:         February 25, 2025
                                                   Time:         2:00 p.m.
16                                                 Judge:        Hon. Trina L. Thompson
                           Defendant.              Courtroom:    9
17
                                                   Action Filed: June 26, 2024
18                                                 Trial Date:   February 9, 2026

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        DAVIDSON DECLARATION IN SUPPORT OF DIAMOND FOUNDRY INC.’S REQUEST FOR
                                   JUDICIAL NOTICE
                              CASE NO. 3:24-CV-03836-TLT
     Case 3:24-cv-03836-TLT          Document 57-1       Filed 01/10/25     Page 2 of 3



 1          I, James S. Davidson, declare as follows:

 2         1.      I am an attorney at the law firm of DLA Piper LLP (US), attorney of record for

 3   Defendant and Counterclaimant DIAMOND FOUNDRY INC. (“Foundry”) in this action. I am a

 4   member of good standing in the Bar of the State of California, and I am admitted to practice

 5   before this Court. I have personal knowledge of the matters set forth in this declaration, and if

 6   called upon to do so, I would testify competently to them.

 7         2.      At my request, the global translation firm Xiioma translated, from Hebrew to

 8   English, Articles 166-169 of the 2018 Israeli Civil Procedure Regulations.

 9         3.      A true and accurate copy of the original Hebrew version of Articles 166-169 of the

10   2018 Israeli Civil Procedure Regulations is attached as Ex. A

11         4.       An accurate, true and correct English translation of Articles 166-169 of the 2018

12   Israeli Civil Procedure Regulations is attached as Ex. B.

13         5.      The certification of translation of Articles 166-169 of the 2018 Israeli Civil

14   Procedure Regulations from Hebrew to English is attached as Ex. C.

15         6.      At my request, the global translation firm Xiioma translated, from Hebrew to

16   English, CA 8195/02 Sheetrit v. Sharp Corporation, PD 58(1) 193 (2003) (Isr.).

17         7.      A true and accurate copy of the original Hebrew version of CA 8195/02 Sheetrit v.

18   Sharp Corporation, PD 58(1) 193 (2003) (Isr.) is attached as Ex. D.

19         8.      An accurate, true and correct English translation of CA 8195/02 Sheetrit v. Sharp

20   Corporation, PD 58(1) 193 (2003) (Isr.) is attached as Ex. E.

21         9.      The certification of translation of CA 8195/02 Sheetrit v. Sharp Corporation, PD

22   58(1) 193 (2003) (Isr.) from Hebrew to English is attached as Ex. F.

23          I declare under penalty of perjury under the laws of the State of California and the United

24   States that the foregoing is true and correct.

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       DAVIDSON DECLARATION IN SUPPORT OF DIAMOND FOUNDRY INC.’S REQUEST FOR
                                  JUDICIAL NOTICE
                             CASE NO. 3:24-CV-03836-TLT
     Case 3:24-cv-03836-TLT       Document 57-1       Filed 01/10/25     Page 3 of 3



 1         Executed this 10th day of January 2025, in San Francisco, California.

 2
                                                    /s/ James S. Davidson
 3                                                      JAMES S. DAVIDSON
 4                                                     Attorney for Defendant/Counterclaimant
                                                       DIAMOND FOUNDRY INC.
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